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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S RESPONSE TO
14                                                 DEFENDANTS’ EVIDENTIARY
           vs.
                                                   OBJECTIONS TO DECLARATION
15                                                 OF MICHAEL J. AVENATTI IN
     DONALD J. TRUMP a.k.a. DAVID                  SUPPORT OF PLAINTIFF’S
16   DENNISON, an individual, ESSENTIAL
     CONSULTANTS, LLC, a Delaware                  MOTION FOR
17   Limited Liability Company, MICHAEL            RECONSIDERATION OF ORDER
     COHEN and DOES 1 through 10,                  STAYING THIS ACTION
18   inclusive,
19                                                 Hearing Date: June 21, 2018
                        Defendants.                (Pursuant to Court’s Order Dkt. No. 55)
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                                                   Hearing Time: 1:30 p.m.
21                                                 Location: Courtroom 10C
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       PLAINTIFF’S RESPONSE TO DEFENDANTS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF
      MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR RECONSIDERATION OF STAY
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 1   I.       INTRODUCTION
 2            Defendants Michael Cohen and Donald J. Trump have filed seven evidentiary
 3   objections to exhibits attached to the Declaration of Michael J. Avenatti in Support of
 4   Plaintiff’s Motion for Reconsideration in Part of Order Imposing Stay. These objections
 5   repeatedly claim that the exhibits are irrelevant, that Mr. Trump and his attorney Rudolph
 6   Giuliani’s statements are hearsay, and that some of Mr. Trump and Mr. Giuliani’s
 7   statements are not authenticated. Defendants’ objections are meritless for the reasons
 8   discussed below.
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     II.      DEFENDANTS’ EVIDENTIARY OBJECTIONS ARE WITHOUT MERIT.
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              Defendants’ objections to Mr. Trump and Mr. Giuliani’s “out-of-court” statements
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     as inadmissible hearsay are without merit and should be overruled. Mr. Trump’s
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     statements are textbook admissions of a party opponent. Fed. R. Evid. 801(d)(2)(A);
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     United States v. Harris, 738 F.2d 1068, 1073 (9th Cir. 1984) (tape “recording could have
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     been admitted without limitation as a party admission” under Fed.R.Evid. 801(d)(2)(A));
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     United States v. Carrillo, 81 F. App'x 141, 142 (9th Cir. 2003) (citing Fed. R. Evid.
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     801(d)(2) and stating that “[t]he recorded statements of [defendant] himself were
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     admissible as admissions because they were offered against him and he is a
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     party”). Similarly, Mr. Giuliani’s statements are also admissible as authorized admissions
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     and admissions of an agent of a party opponent. Fed. R. Evid. 801(d)(2)(C)-(D); United
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     States of Am., Plaintiff, v. Jamie Harmon, Defendant., No. CR 08-00938 JW, 2010 WL
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     11519181, at *2–3 (N.D. Cal. July 1, 2010) (letter written by lawyer in connection with
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     representation of defendant admissible under Fed. R. Evid. 801(d)(2)(D)); United States v.
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     Amato, 356 F.3d 216, 220 (2d Cir. 2004); 30B Charles Alan Wright & Arthur R. Miller,
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     Federal Practice and Procedure. § 6776 (2018) (“An attorney can be characterized as the
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     client's agent for purposes of” Fed. R. Evid. 801(d)(2)(D)).
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              Defendants’ objections to the authenticity of Mr. Trump and Mr. Giuliani’s
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     statements are patently frivolous. Mr. Trump makes no argument that the voice depicted
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            PLAINTIFF’S RESPONSE TO DEFENDANTS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF
           MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR RECONSIDERATION OF STAY
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 1   on the Fox & Friends interview was not his own voice. Similarly, Defendants do not
 2   deny that it was in fact Mr. Giuliani depicted in the interviews on Hannity and Fox &
 3   Friends.
 4          Finally, Defendants’ relevance objections are meritless. “The standard of relevance
 5   in the federal courts is quite liberal.” United States v. Pimentel-Tafolla, 60 F. App'x 656,
 6   664 (9th Cir. 2003). Evidence is relevant if “it has any tendency to make a fact more or
 7   less probable than it would be without the evidence” and “the fact is of consequence in
 8   determining the action.” Fed. R. Evid. 401. The relevance of the evidence is amply set
 9   forth in Plaintiff’s memorandum of points and authorities in support of her motion, and in
10   the concurrently filed reply.
11   III.   CONCLUSION
12          For the reasons stated above, Plaintiff respectfully requests the Court to overrule
13   each of Defendants’ evidentiary objections.
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     Dated: June 7, 2018                    AVENATTI & ASSOCIATES, APC
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                                            By:           /s/ Michael J. Avenatti
16                                                 Michael J. Avenatti
                                                   Attorneys for Plaintiff Stephanie Clifford
17                                                 a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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         PLAINTIFF’S RESPONSE TO DEFENDANTS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF
        MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR RECONSIDERATION OF STAY
